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                                                  Court-Appointed Temporary Receiver for Link Motion Inc.
                                                  Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
______________________________________________________________________________________

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VIA ECF

Hon. Debra C. Freeman
United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007
                                                  Type text here
February 3, 2022


       Re:    Interim Status Report of the Temporary Court-Appointed Receiver of
              Link Motion Inc. in the matter of Baliga v. Link Motion Inc. et al.,
              1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Magistrate Judge Freeman:

       I write pursuant to Judge Marrero’s February 1, 2019 Order (ECF 26) (the “Order”)
to provide the Court with an interim status report in connection with the Receivership’s
continued efforts. This status report contains only new information concerning the above-
referenced matters. In May 2021, I provided the court with a comprehensive report of the
Receivership’s efforts to that date.

Interim Status Report

   •   The Receiver is actively working with KSG Attorneys at Law in the Cayman
       Islands (“KSG”), as previously approved by the Court. KSG is advising the
       Receiver with respect to the calling of an Extraordinary General Meeting (“EGM”)
       in accordance with Link Motion Inc. (“LKM” or “the Company”) company bylaws,
       Cayman law and the Receiver’s powers, authority, and duty.

       The Receiver had previously applied to this Court for such approval. See ECF 188.
       The Receiver’s request to call an EGM was denied without prejudice pursuant to
       the parties’ proposal that “certain filed motions be held in abeyance pending the
       outcome of Plaintiff’s anticipated motion.” See ECF 198. The Receiver is
       preparing an application to the Cayman Court to seek approval to call the EGM, in
       order to put forward resolutions to LKM shareholders for the appointment and
       removal of directors, the result of which will (in the Receiver’s judgment) serve to
       safeguard and protect the Company’s assets going forward.


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       KSG counsel believes, that given the approach taken by the Cayman Court to date
       in the Cayman proceeding, and the strong grounds for calling the EGM, the Court
       is likely to grant the application.

   •   In December 2021, China AI Capital Limited (“China AI”), which had previously
       filed a motion to intervene in this matter, filed a Shareholder Derivative Complaint
       in this Court against DLA Piper LLP (US) (the Company’s former counsel) and the
       Company, alleging legal malpractice based on allegations that it “caused the
       Company to suffer damages in excess of USD$180,400,000.” See Exhibit A (a
       copy of the Complaint in China AI Capital Limited v. DLA Piper LLP (US), 1:21-
       cv-10911) at ¶2.

       The Receiver has previously provided this Court with considerable evidence of
       substantial links between China AI and Defendant Shi.

   •   In September 2021, the Receiver learned that the China International Economic and
       Trade Arbitration Commission (“CIETAC”) issued an award that ordered
       Defendant Shi to take various actions, including requiring that Defendant Shi and
       Xu Zhou (“Mr. Zhou”) transfer their shares in NQ World Technology Co., Ltd
       (“NQW”) to representatives designated by the Receiver. CIETAC found that
       Defendant Shi unlawfully executed an agreement (“Shi Agreement”) between
       China AI, WFOE, NQW, Shi, Mr. Zhou, and the Company. The Shi Agreement
       was signed by Shi without the participation of NQW’s controlling shareholder,
       Lingyun Guo. The Shi Agreement would have made any change in the Company’s
       VIE agreements subject to the unanimous consent of the Company and China AI.
       CIETAC refused to recognize the validity of the Shi Agreement and found that it
       would have jeopardized investor funds, the stability of the VIE structure, and
       corporate control. CIETAC’s award (dated September 4, 2021) required Shi and
       Mr. Zhou to transfer shares they hold in NQW to Lilin Guo (“Mr. Guo”) and
       Lingyun Guo, cooperate in the procedure to change the registration and
       administration relating to the title transfer of the shares, and for Shi and Mr. Zhou
       to bear CIETAC’s full fee. A copy of CIETAC September 4, 2021 Award with
       certified translation is attached as Exhibit B.

       In addition, Mr. Zhou, a party of the Shi Agreement, informed the Receiver’s agent,
       Mr. Guo, that he didn’t sign the Shi Agreement and he was not aware of the
       existence of the said agreement until recently. The Receiver will follow up with
       Mr. Zhou to obtain his testimony and supporting evidence.

       Please do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.




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                                                Court-Appointed Temporary Receiver for Link Motion Inc.
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Respectfully submitted,



Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.




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